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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SECURITIES AND EXCHANGE                          §
COMMISSION,                                      §
                                                 §
       Plaintiff,                                §
                                                 §
       vs.                                       §
                                                 §
MAURICIO CHAVEZ, GIORGIO                         §         CIVIL ACTION NO. 4:22-CV-03359
BENVENUTO and CryptoFX, LLC,                     §
                                                 §         JUDGE ANDREW S. HANEN
       Defendants.                               §
                                                 §
CBT Group, LLC,                                  §
                                                 §
       Relief Defendant.                         §


   RECEIVER’S UNOPPOSED MOTION TO APPROVE PRIVATE SALE OF REAL
   PROPERTY AND TO EXPEDITE CONSIDERATION AND BRIEF IN SUPPORT

       John Lewis, Jr. (“Receiver”), the court-appointed Receiver for Mauricio Chavez

(“Chavez”), Giorgio Benvenuto (“Benvenuto”), CryptoFX, LLC (“CryptoFX”) and CBT Group,

LLC (“CBT”), pursuant to the Order Appointing Receiver (“Receivership Order”) [Doc. No. 11]

files this Unopposed Motion to Approve Private Sale of Real Property located at S432500 Clear

Creek Development Lot 1 Acres 25.132, Hempstead, Texas 77445 (“Subject Property”) and to

Expedite Consideration and Brief in Support, showing the Court as follows:

                                   I.     INTRODUCTION

       1.      On September 19, 2022, the United States Securities and Exchange Commission

(“SEC”) filed a Complaint against Defendants Chavez, Benvenuto, CFX, and CBT, along with an

application for the appointment of a receiver for the Receivership Entities. [Doc. Nos. 3 & 6]. On
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September 29, 2022, the Court appointed John Lewis, Jr. to serve as Receiver over all the assets

of the Receivership Defendants [Doc. No. 11].

        2.      The Receivership Order grants Receiver various powers, including, but not limited

to, the authority to “locate, list for sale or lease, engage a broker for sale or lease, cause the sale or

lease, and take all necessary and reasonable actions to cause the sale or lease of all real property

in the Receivership Estate either at public or private sale, on terms and in the manner the Receiver

deems most beneficial to the Receivership Estate. . .” Receivership Order at ¶ 36.

        3.      Pursuant to his responsibilities as a Receiver, Receiver has taken control and

possession of certain real property owned by Receivership Defendant CBT including real property

located at S432500 Clear Creek Development Lot 1 Acres 25.132, Hempstead, Texas 77445. See

Receiver’s First Interim Report [Doc. No. 33]; see also Receiver’s Second Interim Report [Doc.

No. 50]. The Subject Property is part of the Receivership Estate and, as described below, may be

sold by the Receiver upon the Court’s approval. See also Receiver’s Liquidation Plan [Doc. No.

47].

        4.      Receiver is now prepared to proceed with the sale of the Subject Property with the

goal of realizing the highest reasonable value for the Subject Property under the circumstances of

this Receivership.

        5.      Receiver continues to fulfill his duties as Receiver and has conducted various

investigations of the Receivership Defendants with the intent to marshal the Receivership assets

for the benefit of the Receivership Entities’ investors. As detailed in Receiver’s status reports,

these efforts have included, but are not limited to, conducting interviews and depositions of

CryptoFX sales agents and employees, reviewing and analyzing corporate records, and identifying

personal and real property owned by the Receivership Defendants. See Receiver’s First Interim

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Report [Doc. No. 33]; see also Receiver’s Second Interim Report [Doc. No. 50]; Receiver’s Third

Interim Report [Doc. No. 72]; Receiver’s Fourth Interim Report [Doc. No. 79].

                II.     SALE OF REAL PROPERTY UNDER 28 U.S.C. § 2001

        6.      Where the administration of a receivership estate requires the sale of real property,

28 U.S.C. § 2001 provides the general procedures that a receiver must follow. Specifically,

subsection (b) establishes the following procedures for a private sale of real property:

                (b) After a hearing, of which notice to all interested parties shall be given
        by publication or otherwise as the court directs, the court may order the sale of such
        realty or interest or any part thereof at private sale for cash or other consideration
        and upon such terms and conditions as the court approves, if it finds that the best
        interests of the estate will be conserved thereby. Before confirmation of any private
        sale, the court shall appoint three disinterested persons to appraise such property or
        different groups of three appraisers each to appraise properties of different classes
        or situated in different localities. No private sale shall be confirmed at a price less
        than two-thirds of the appraised value. Before confirmation of any private sale, the
        terms thereof shall be published in such newspaper or newspapers of general
        circulation as the court directs at least ten days before confirmation. The private
        sale shall not be confirmed if a bona fide offer is made, under conditions prescribed
        by the court, which guarantees at least a 10 per centum increase over the price
        offered in the private sale.
        28 U.S.C. § 2001(b)

        7.      Therefore, in order to sell the Subject Property in a private sale, Receiver must

obtain permission from the Court to do so.

        8.      Notwithstanding the processes outlined in section 2001(b), in overseeing equity

receiverships, district courts have wide discretion in overseeing the sale of real and personal

property. Accordingly, except in cases of abuse, appellate courts will not disturb the exercise of

the district courts’ discretion in setting the conditions for judicial sales or the confirmation thereof.

See Salaymeh v. Plaza Centro, LLC, 258 S.W.3d 236, 240 (Tex. App. 2008); see also SEC v. Safety

Fin. Serv., Inc., 674 F.2d 363, 373 (5th Cir. 1982).
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       9.      One of the ultimate purposes of Receiver’s appointment in this case is to provide a

vehicle through which assets can be gathered, preserved, and, ultimately, liquidated in order to

minimize losses incurred by thousands of investors. To that end, the Court has extremely broad

powers and wide discretion to supervise the receivership and to determine the appropriate action

to be taken in the administration of the receivership. See SEC v. Hardy, 803 F.2d 1034, 1038 (9th

Cir. 1986); SEC v. Lincoln Thrift Ass’n, 577 F.2d 600, 606 (9th Cir. 1978); See SEC v. Stanford

Int'l Bank, Ltd., 927 F.3d 830, 840 (5th Cir. 2019); see also SEC v. Safety Fin. Serv., Inc., 674 F.2d

at 372 (holding that a court overseeing a receivership is accorded “wide discretionary power” in

light of “the concern for orderly administration”) (citations omitted).

       10.     Each receivership case presents its own distinct circumstances that require the

presiding court to employ case-specific procedures. See Hardy, 803 F.2d at 1038 (recognizing that

courts must often craft reasonable administrative procedures to deal with the complex

circumstance of each case). Because a court may not have the resources to ascertain which

procedures will be most efficient in a given situation, the receiver has a duty to assist the court in

understanding the specific issues in the case and developing the appropriate procedures. See id.

(citing SEC v. Wencke (Wencke II), 783 F.2d 829, 837 n.9 (9th Cir. 1986)) (noting the duty of an

equity receiver is to aid the court in orderly and efficient administration of the estate); see also

Marsch v. Williams, 23 Cal. App 4th 238, 248 (Cal. Ct. App. 1994) (noting that the receiver is “the

hand of the court, to aid it in preserving and managing the property involved in the suit for the

benefit of those to whom it may ultimately be determined to belong”).

       11.     In light of the purposes and principles underlying the administration of this

receivership, and in an effort to minimize additional costs incurred by the Receivership Estate in



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disposing of the Subject Property, Receiver proposes the sale of the Subject Property pursuant to

the terms set forth below.

  III.     THE PROPOSED SALE MEETS THE REQUIREMENTS OF 28 U.S.C. § 2001

         12.    As part of his duties, and pursuant to 28 U.S.C. § 2001, Receiver requests that he

be allowed to sell the Subject Property through a private sale and that, in connection with the sale,

the Court approve the proposed sale described herein.

         13.    CBT Group, LLC purchased the Subject Property on February 28, 2022 and there

are no liens against it.

         14.    Receiver employed real estate broker, the Mark Dimas Team to assist with the sale

of the Subject Property. See Receiver’s First Interim Report [Doc. No. 33]. The Mark Dimas

Team conducted a comparative market analysis of the Subject Property and suggested an initial

listing price of $1,150,000. See Comparative Market Analysis, attached hereto as Exhibit A.

Based on their review and analysis of the Subject Property and comparative market, the Mark

Dimas Team expected the Subject Property to sell between $900,000 and $1,100,000.

         15.    On August 4, 2023, Receiver entered into a contract with Derek Nelson (“Buyer”)

to sell the Subject Property for $1,100,000.00. Receiver expects the sale to net approximately

$1,027,188.82 to the Receivership Estate, with $33,000 in commissions to be paid to the Mark

Dimas team. A copy of the Purchase Agreement is attached hereto as Exhibit B.

         16.    The contract for sale of the Subject Property is the result of substantial arms-length

negotiations between Receiver and Buyer.

         17.    Prior to entering into the Purchase Agreement, the Subject Property was listed for

sale for 59 days, with an asking price of $1,150,000. Other than the offer made by Buyer, Receiver

received one other offer for $945,000.

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        18.     As required by 28 U.S.C. § 2001, in order to allow for competing bids, Receiver

has published notice of the terms of the Subject Property in The Greensheet newspaper, which is

a newspaper of general circulation in the geographic area where the Subject Property is located.

See Copy of the Notice attached as Exhibit C. Receiver first published the notice on October 31,

2023 and it will run consecutively through November 14, 2023. Upon completion of the notice

period, Receiver will file a Publisher’s Affidavit confirming the dates of publication and will

disclose all qualifying competing bids—i.e., bids with a purchase price of at least 10% higher than

the purchase price in the Purchase Agreement—in response to the published notice. Receiver will

notify the Court promptly if he receives such an offer prior to the Court’s approval of the sale.

        19.     As required by 28 U.S.C. § 2001, Receiver has considered the following three

“appraisals” to arrive at the sales price:

                (a)     The purchase price of $2,050,000.00 which was paid by CBT
                        Group, LLC when it purchased the Subject Property in February
                        2022. A true and correct copy of the Settlement Statement reflecting
                        the purchase price is attached hereto as Exhibit D.

                (b)     The December 30, 2022 appraisal performed by Scott Stephens &
                        Associates, Inc. placing a fair market value of $1,150,000 on the
                        Subject Property, a true and correct copy of which is attached hereto
                        as Exhibit E.

                (c)     The April 18, 2023 appraisal performed by MBLane & Associates,
                        placing a fair market value of $1,080,000 on the Subject Property, a
                        true and correct copy of which is attached hereto as Exhibit F.

        20.     These documents are sufficient to satisfy section 2001(b)’s appraisal requirements

because each was provided by a party who is independent from Receiver and has no interest in the

proposed sale of the Subject Property. Receiver deems that said documents accurately reflect the

value of the Subject Property and save the Receivership Estate significant expenses and undue

delay of the proposed sale.

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       21.     As required by 28 U.S.C. § 2001, the $1,100,000.00 sales price exceeds two-thirds

of the appraised value. Moreover, selling the Subject Property, “as-is,” will allow the Receivership

Estate to avoid additional expenses associated with maintaining the Subject Property in the future.

       22.     Allowing Receiver to liquidate the Subject Property through the proposed private

sale will most expeditiously further the goals of the Receivership.

       23.     The proposed sale of the Subject Property will result in additional cash being

deposited into the Receivership Estate.

       24.     Additionally, because the proposed sale of the Subject Property satisfies the

prerequisites established by 28 U.S.C. § 2001 for the reasons described herein, Receiver contends

that the sale is in the best interest of the Receivership Estate and should be permitted to close as

requested.

       25.     The proposed sale is scheduled to close on or before November 28, 2023.The

proposed offer is reasonable in light of the current market conditions and the appraised value of

the Subject Property.

                 IV.     REQUEST FOR EXPEDITED CONSIDERATION.

       26.     Receiver respectfully requests that the Court allow for expedited consideration and

determination of this Motion. Time is of the essence under the stated terms of the Purchase

Agreement. The sale, contingently accepted by Receiver subject to this Court’s approval and the

satisfaction of the above-described statutory requirements, is scheduled to close on or before

November 28, 2023, and before that date, many events must take place.

       27.     Receiver advises the Court that the SEC and Counsel for the Receivership

Defendants do not oppose this Motion or the relief requested herein.



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       28.     No party to this action will be prejudiced by a decision to shorten time for

objections to be filed or a decision to expedite consideration of this Motion. Rather, doing so will

ensure timely closing of a bona fide sale, which will result in the resolution of the property interest

for the Receivership Estate—these proceeds are needed to fund the ongoing investigation for cash

and assets held by Defendants for ultimate payout to creditors of the Estate, including investors.

       29.     Therefore, Receiver asks that the Court shorten the deadline for filing objections to

this Motion, schedule an expedited hearing if the Court determines one is necessary, and approve

the private sale of 0 Mack Washington, Hempstead, Texas 77445. An Order authorizing this

request has been separately submitted to the Court in accordance with the local rules.

                                      V.      CONCLUSION

       WHEREFORE, Receiver respectfully requests that this Court enter an order approving the

private sale of real property located at S432500 Clear Creek Development Lot 1 Acres 25.132,

Hempstead, Texas 77445 pursuant to the terms of the Purchase Agreement. Specifically, if no

objections are filed to this Motion and if Receiver does not receive any qualifying competing bids

for the Subject Property, Receiver requests that the Court grant this unopposed Motion without

hearing. If competing bids are received prior to the Court’s approval of the sale, Receiver will

notify the Court promptly and Receiver requests that the Court schedule a hearing to resolve any

outstanding issues.

Respectfully submitted, this November 3, 2023


                                                      SHOOK, HARDY & BACON L.L.P.


                                                      By: /s/ Poston E. Pritchett
                                                          Poston E. Pritchett
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                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that he has conferred with counsel for the SEC, Mauricio

Chavez and Giorgio Benvenuto. They do not oppose this Motion or the relief requested herein.



                                               /s/ Poston E. Pritchett
                                               Poston E. Pritchett




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of November, 2023, the above and foregoing document

was filed electronically through the CM/ECF system, which sent notification of such filing to all

known counsel of record, addressed as follows:

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